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                 IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In re:                                           )     Chapter 7
                                                 )
JASON LEWIS ZILBERBRAND,                         )     Hon. A. Benjamin Goldgar
                                                 )
               Debtor.                           )     Case No. 17-04034

                                  NOTICE OF MOTION

To:      Attached Service List
       PLEASE TAKE NOTICE that on December 21, 2018, at 1:00 p.m. I will
appear before the Honorable A. Benjamin Goldgar, or any judge sitting in that
judge’s place, in the Park City Branch Court, Courtroom B, 301 S. Greenleaf Ave.,
Park City, Illinois 60085, and present the Trustee’s Motion to Intervene in Pending
Rule 2004 Proceedings, a copy of which is attached.

Dated: December 14, 2018                         ILENE F. GOLDSTEIN, as Trustee
                                                 for Jason Lewis Zilberbrand

                                                 /s/ Paul M. Bauch
                                                 One of her attorneys

                                                 Paul M. Bauch (ARDC #6196619)
                                                 Carolina Y. Sales (ARDC #6287277)
                                                 LAKELAW
                                                 53 W. Jackson Boulevard, Suite 1115
                                                 Chicago, Illinois 60604
                                                 Tel.: (312) 588-5000
                                                 pbauch@lakelaw.com

                              CERTIFICATE OF SERVICE

      I, Paul M. Bauch, certify that I served a copy of this notice and the attached
motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on December 14, 2018 at 4:30 p.m.

                                                       /s/ Paul M. Bauch
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                                 SERVICE LIST

VIA CM/ECF:

Jeffrey C Dan on behalf of Debtor 1 Jason Lewis Zilberbrand
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sclar@craneheyman.com;jmunoz@craneheyman.com;dkane@cranesimon.com

Ilene F Goldstein on behalf of Trustee Ilene F Goldstein, ESQ
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Joel A Schechter, ESQ on behalf of Creditor Candice Zilberbrand
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                 IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In re:                                         )      Chapter 7
                                               )
JASON LEWIS ZILBERBRAND,                       )      Hon. A. Benjamin Goldgar
                                               )
               Debtor.                         )      Case No. 17-04034

                      TRUSTEE’S MOTION TO INTERVENE
                   IN RULE 2004 DISCOVERY PROCEEDINGS

         Ilene F. Goldstein, as Trustee (the “Trustee”) for Jason Lewis Zilberbrand

(“Zilberbrand” or the “Debtor”), by and through her attorneys and pursuant to Fed.

R. Bankr. P. 2018(a), hereby requests this Court to allow her to intervene in the

pending Rule 2004 discovery proceedings.

                                I.     JURISDICTION

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1334 and 157.

         2.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

                                II.    BACKGROUND

         1.    On February 14, 2017 (the “Petition Date”), the Debtor filed a

voluntary petition for relief under Chapter 7, Title 11 of the United States Code, 11

U.S.C. §§ 101 et seq., (the “Bankruptcy Code”), in the United States Bankruptcy

Court for the Northern District of Illinois, Eastern Division (the “Court”).

         2.    The Trustee has been appointed as the duly appointed, qualified, and

acting bankruptcy Trustee for the Bankruptcy Estate of the Debtor.

         3.    David Gassman (“Gassman”) is a creditor who holds an unsatisfied

judgment and other claims against the Debtor.
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      4.     On March 9, 2017, Gassman filed a Routine Motion for Leave to

Conduct Rule 2004 Examinations (the “Rule 2004 Motion”) [ECF No. 13]. On April

4, 2017, this Court entered its order on the Rule 2004 Motion, which authorized

Rule 2004 examinations and the production of documents with respect to the

Debtor. [ECF No. 17]. This order is attached hereto as Exhibit 1. The Rule 2004

Motion, the Order thereon, and the Subpoenas issued pursuant to such Order are

hereinafter described as the “Rule 2004 Discovery Proceedings.” Gassman issued

and served subpoenas to the Rule 2004 parties.

      5.     In performance of her duties as defined in 11 U.S.C. § 704, the Trustee

has preliminarily concluded that the estate may have claims against the Debtor’s

insiders and third parties that may be sufficient to satisfy claims filed against the

estate. The Trustee has retained as her special litigation counsel the attorneys who

formerly represented Gassman in connection with the case and the Rule 2004

Discovery Proceedings [ECF No. 79, 82]. The Trustee believes that it would be

efficient for the Trustee to formally intervene in the Rule 2004 Discovery

Proceedings and may also file additional Rule 2004 Motions.

                            III.   RELIEF REQUESTED

      6.     The Trustee seeks authority, pursuant to Fed. R. Bankr. P. 2018(a), to

intervene in the Rule 2004 Discovery Proceedings. Pursuant to 11 U.S.C. § 323, the

Trustee is the representative of the estate. Rule 2018(a) provides that “the court

may permit any interested entity to intervene generally or with respect to any

specified matter.” Although there is some debate whether a Rule 2004 Motion

created a contested matter, the Court has discretion to deem it such and to make

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Fed. R. Bankr. P. 7024 applicable to the matter and allow intervention on that

basis.

         WHEREFORE, the Trustee requests the entry of an order authorizing her to

intervene in the Rule 2004 Discovery.



Dated: December 14, 2018                     ILENE F. GOLDSTEIN, as Trustee
                                             for Jason Lewis Zilberbrand

                                             /s/ Paul M. Bauch
                                             One of her attorneys

                                             Paul M. Bauch (ARDC #6196619)
                                             Carolina Y. Sales (ARDC #6287277)
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